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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff,          )
                                              )
                     v.                       )     No. 1:19-cr-00027-JRS-DML
                                              )
JONATHAN DOMANGUE,                            ) -01
                                              )
                          Defendant.          )

          ORDER ADOPTING REPORT AND RECOMMENDATION

      On December 31, 2020, the Magistrate Judge submitted her Report and

Recommendation (ECF No. 22) regarding the United States Probation Office’s

Petition for Warrant or Summons for Offender Under Supervision pursuant to Fed.

R. Crim. P. 32.1(a)(1) and 18 U.S.C. § 3583. The parties waived objections to the

Report and Recommendation. The Court, having considered the Magistrate Judge’s

Report and Recommendation, hereby adopts the Magistrate Judge’s Report and

Recommendation.

Date: 12/31/2020




Distribution to all parties of record via CM/ECF.

U. S. Probation

U. S. Marshal


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